 Case 8:19-cr-00061-JVS Document 19 Filed 04/10/19 Page 1 of 1 Page ID #:319
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 United States v. Michael John Avenatti                  Apri19, 2019


 To:                                                 From:

 KIRY K. GRAY                                        BRETT A. SAGEL
 Clerk, United States District Court                 Assistant United States Attorney
 Central District of California                      Criminal Division


For purposes of determining whether the above-referenced matter being filed on April 10, 2019

(a)     should be assigned to the Honorable Andre Birotte Jr., it

        ❑ is

        D is not

        a matter that was pending in the United States Attorney's Office on or before August 8,
        2014,the date the Honorable Andre Birotte Jr. resigned from his position as the United
        States Attorney for the Central District of California.

(b)     should be assigned to the Honorable Michael W. Fitzgerald, it

        ❑ is

        ❑
        x is not

        a matter pending in the National Security Section or one in which the National Security
        Section has previously been involved; or(2) a matter in which current Assistant United
        States Attorney Patrick Fitzgerald is or has been personally involved or on which ~ has
        personally consulted while employed in the USAO.— _                            ~~



                                                 BRETT A. SAGEL
                                                 Assistant United States Attorney
                                                 Criminal Division
